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          EXHIBIT 8
       Filed Under Seal
                           Case 8:22-cv-01768-AAQ Document 2-10 Filed 07/19/22 Page 2 of 2



                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MARYLAND
              Robert Frazier, et al.,                                    *
                    Plaintiff,
                                                                         *
                    v.                                                                     Case No.   8:22-cv-01768-AAQ
              Prince George's County, Maryland, et al.,
                                                                         *

                    Defendant.                                           *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.
               X
                         Exhibit      8            which is an attachment to
                                                                                 Plaintiffs' memorandum of law in
                          support of motion for preliminary injunction (ECF 2)
                         will be electronically filed under seal within 24 hours of the filing of this Notice.



                                                                     (title of document)

                         will be electronically filed under seal within 24 hours of the filing of this Notice.

                         I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by using the CM/ECF system for electronic filing                                           .

              July 19, 2022
              Date                                                             Signature
                                                                                Edward Williams
                                                                               Printed Name and Bar Number

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